            Case
             Case6:14-bk-02843-ABB
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                           UNITED STATES BANKRUPTCY COURT

                               MIDDLE DISTRICT OF FLORIDA

                                      ORLANDO DIVISION

                                      In Re: Case No 6: 14-bk-02843-ABB

Pouria Bidhendi

Debtor

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                                  NOTICE OF APPEARANCE
        PLEASE TAKE NOTICE that The Infurna Law Firm, P.A. and Justin R. Infurna, Esquire,
LL.M., hereby files this Notice of Appearance on behalf of POURIA BIDHENDI in the above
styled cause. The undersigned requests that he be copied with all papers and pleadings filed in this
proceeding.

                                DESIGNATION OF EMAIL ADDRESS
         The Infurna Law Firm, P.A. designates the following email addresses:

         Primary Email Address: justininfurna@alwaysavailablelawyer.com
         Secondary Email Address: justininfurna@gmail.com

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I have electronically filed the foregoing with the Clerk of
court via ECF filing system and have furnished a true and correct copy of the same via email to
all parties of record

                                                 /s/ Justin R. Infurna

                                                  Justin R. Infurna, Esquire, LLM
                                                  Florida Bar No.: 0084284
                                                  The Infurna Law Firm, P.A.
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